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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION

 TEXAS PRECIOUS METALS, LLC                 )
                                            )
                      Plaintiff,            )
                                            )
                                                            6:24-cv-00038
         v.                                 )     Case No: ___________________
                                            )
 LINCOLN TREASURY, LLC                      )     Jury Trial Demanded
                                            )
                      Defendant.            )
                                            )

                                       Complaint

        Plaintiff Texas Precious Metals, LLC (“TPM”) complains against defendant

Lincoln Treasury, LLC (“Defendant” or “Lincoln Treasury”) as follows:

                                      Introduction

        1.    This case arises from Defendant’s infringement of TPM’s federally

registered image trademarks consisting of the silhouette of the State of Texas, under

which TPM has sold and marketed precious metals since at least March 2011. Despite

TPM’s longstanding use of its image trademarks, Defendant is selling its own rounds

(the industry term for non-government-issued, non-monetary coins) and bars bearing

an image of the State of Texas confusingly similar to TPM’s trademarks. Therefore, TPM

brings suit to protect its valuable trademark rights in the face of Defendant’s ongoing,

intentional infringement.




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                                       The Parties

        2.    Plaintiff TPM is a limited liability company duly organized and existing

under the laws of the State of Texas. TPM has its principal place of business at 959 State

Hwy 95 N, Shiner, Texas.

        3.    On information and belief, defendant Lincoln Treasury is a limited

liability company organized under the laws of the State of Ohio. Lincoln Treasury has

its principal place of business at 8000 Freedom Ave NW, North Canton, Ohio.

        4.    On information and belief, Lincoln Treasury is owned, operated, or

controlled by a natural person named Andy Kutscher. On information and belief, Mr.

Kutscher is an adult resident of the State of Ohio. On information and belief, Mr.

Kutscher owns, operates, or controls (or previously owned, operated, or controlled)

another entity known as United States Reserve, LLC, doing business as Federated Mint.

On or about June 19, 2017, TPM filed a trademark infringement action against United

States Reserve in the United States District Court for the Southern District of Texas,

Case No. 17-cv-0037. On or about, September 28, 2017, TPM entered into a Confidential

Settlement Agreement and License with United States Reserve. Mr. Kutscher signed

that settlement agreement on behalf of United States Reserve on or about September 28,

2017. Accordingly, on information and belief, Mr. Kutscher has known of TPM and its

marks and products since at least 2017 and knowingly and intentionally has created

another entity by which he is selling products that infringe TPM’s trademarks contrary

to the terms of the 2017 settlement agreement.



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                                   Jurisdiction and Venue

        5.    TPM’s claims arise under the Lanham Act, 15 U.S.C. §§ 1051, et seq., Tex.

Bus. & Comm. Code § 16.29, and under Texas common law.

        6.    This Court has subject matter jurisdiction over this action pursuant to 15

U.S.C. § 1121 and 28 U.S.C. §§ 1331, 1338(a) and (b), and 1367(a).

        7.    This Court has personal jurisdiction over Defendant because Lincoln

Treasury regularly conducts its business within this judicial district and has committed

one or more of the acts complained of in this Complaint within this judicial district,

including knowingly offering for sale and selling its silver rounds and bars that infringe

TPM’s trademarks in this district. Moreover, on information and belief, Defendant is

owned, operated, and controlled by Mr. Andy Kutscher who has known of TPM, its

products, and its marks since at least 2017, when another company controlled by Mr.

Kutscher was infringing TPM’s marks, leading to a prior trademark infringement suit.

Mr. Kutscher personally signed a settlement agreement with TPM resolving this prior

suit in 2017. That is, Lincoln Treasury’s past and ongoing infringement of TPM’s

trademark rights has been and is knowingly aimed at TPM in this district and amounts

to purposeful availment of jurisdiction in this judicial district.

        8.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)

because a substantial part of Defendant’s infringement of TPM’s federally registered

trademarks occurs in this district.




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                             TPM’s Nationwide Reputation

        9.    TPM was founded in 2011 and is a subsidiary of Kaspar Companies, Inc.,

a 126 year-old, fifth-generation, family-owned Texas business. TPM has produced,

marketed, and sold precious metal products under its Texas Silhouette Marks since at

least March 2011. In its thirteen-year history, TPM has processed more than $2.9 billion

in client transactions in excess of over 150,000 orders, accounting for more than 2351

metric tons of gold and silver.

        10.   TPM operates a highly trafficked e-commerce platform,

https://www.texmetals.com/, as well as a retail location and precious metals

depository. TPM also offers precious metals, commemorative rounds, and bullion for

sale online by phone and in person. TPM ships products to all fifty states.

        11.   TPM has enjoyed a hard-earned reputation and brand in the nationwide

precious metals market. For example, TPM is rated A+ with the Better Business Bureau

and has been recognized by the United States Mint as an official bullion dealer. In 2014,

TPM was recognized as the “Number 1 Fastest Growing Aggie-Owned or Led Business

in the World” by Texas A&M University. In 2015, Inc. Magazine named TPM as the

200th Fastest Growing Private Company in America. TPM’s corporate partnership with

shipping provider UPS is so strong that TPM has been featured by UPS in a national

television commercial.

        12.   Today, TPM has become a well-known brand in both domestic and

international precious metals markets.



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                              TPM’s Texas Silhouette Marks

        13.   TPM first used the silhouette of the State of Texas as a service mark in

commerce at least as early as March 31, 2011.

        14.   TPM registered the image mark containing a circle with the words

“TEXAS” at the top edge of the circle, “PRECIOUS METALS” at the bottom edge of the

circle, and in the center of the circle there is a drawing of the State of Texas having an

overlay drawing of a five-pointed star, on the Principal Register of the U.S. Patent and

Trademark Office in August 2015, in International Class 014, identifying the goods,

“non-monetary coins,” under Registration Number 4,788,152 (the “’152 Registration”).

TPM’s ’152 Registration is depicted in the image below:




        15.   On or about November 4, 2021, the United States Patent and Trademark

Office acknowledged TPM’s declaration of incontestability for the ‘152 Registration

which constitutes conclusive evidence of (i) the mark’s validity; (ii) TPM’s ownership of

the mark; and (iii) TPM’s exclusive right to use such registered mark in connection with

the goods set forth within each registration pursuant to 15 U.S.C. § 1115(b).




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        16.   TPM registered the image mark consisting of the silhouette of the State of

Texas on the Principal Registrar of the U.S. Patent and Trademark Office in January

2017, in International Class 014, identifying the goods, “precious metals; non-monetary

coins, namely, rounds; and bullion,” under Registration Number 5,113,004 (the “’004

Registration”). TPM registered the identical image mark consisting of the silhouette of

the State of Texas in January 2017, in International Class 035, identifying the services,

“online retail store feature gold and silver and other rare metals, coins, and bullion,”

under Registration Number 5,113,005 (the “’005 Registration”). TPM’s ’004 and ’005

Registrations are depicted in the image below:




        17.   On or about June 14, 2023, the United States Patent and Trademark Office

acknowledged TPM’s declaration of incontestability for the ‘004 and ‘005 Registrations

which constitutes conclusive evidence of (i) the marks’ validity; (ii) TPM’s ownership of

the marks; and (iii) TPM’s exclusive right to use such registered marks in connection

with the goods set forth within each registration pursuant to 15 U.S.C. § 1115(b).




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        18.   True and correct copies of the ’152 Registration, ’004 Registration, and ’005

Registration are attached to this Complaint as Exhibit A. In this Complaint, TPM refers

to these marks collectively as its “Texas Silhouette Marks.”

        19.   TPM has expended considerable effort, time, and money offering quality

products and services under the Texas Silhouette Marks. As a result, the Texas

Silhouette Marks have come to identify the business, services, and products of TPM.

Such marks, with regard to sales of precious metals, have become distinctive, and have

obtained a meaning and significance beyond the shape of the State of Texas.

        20.   TPM utilizes its Texas Silhouette Marks on several of its major products,

including the “Texas Silver Round” (a one-ounce commemorative silver round), the

“Texas Mint Silver Bar” (commemorative silver bars in one-ounce, ten-ounce, and one-

hundred-ounce varieties), the “Texas Gold Round” (a one-ounce commemorative gold

mount), and the “Texas Mint Gold Bar” (a one-ounce commemorative gold bar)

(collectively, the “Texas-Themed Bullion”).

        21.   The Texas Silver Round features the Texas Star in the foreground as well

as the shape of the State of Texas. The Texas Silver Round containing TPM’s signature

Texas Silhouette Marks is depicted below:




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        22.   TPM has spent considerable time, effort, and money marketing the Texas

Silver Round, and thus developing the Texas Silhouette Marks. TPM advertises its

Texas Silver Round online at https://www.texmetals.com/2024-texas-silver-round, as well as

in print media. An image from TPM’s online advertisement of the Texas Silver Round is

depicted below:




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        23.   The Texas Silver Round has grown to become one of the most popular

precious metals products sold in Texas. Since 2013, TPM has sold more than 3.9 million

Texas Silver Rounds into circulation.

        24.   The Texas Mint Silver Bar features the iconic shape of the State of Texas.

The Texas Mint Silver Bar also contains the Registered Trademark symbol “®”

indicating that TPM owns the rights to this symbol in connection with precious metals,

rounds, and bullion. The reverse of the bar features roughly 50 full-size icons of the

Texas Silhouette Marks, along with another “®” symbol featured in a small five-pointed

star. Each bar measures 88.9 mm x 50.8 mm x 6.35 mm. Both the weight of the bar and

the purity are guaranteed by TPM.

        25.   The Texas Mint Silver Bar, containing TPM’s Texas Silhouette Marks is

depicted below:




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        26.   TPM has spent considerable time, effort, and money marketing the Texas

Mint Silver Bar, and thus developing the Texas Silhouette Marks. TPM advertises its

Texas Mint Silver Bar online at https://www.texmetals.com/10-oz-texas-silver-bar-

classic-style, as well as in print media. An image from TPM’s online advertisement of

the Texas Mint Silver Bar is depicted below:




        27.   The Texas Mint Silver Bar has been produced and sold by TPM for at least

11 years, has sold more than 247,000 individual bars, and has become a staple in the

TPM product line.

        28.   The Texas-Themed Bullion, including the Texas Silver Round and Texas

Mint Silver Bar, have helped TPM become a household name for precious metals in

Texas. TPM’s Texas-Themed Bullion and its Texas Silhouette Marks are recognized

throughout the precious metals industry. Texas-Themed Bullion products are

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distributed widely by A-Mark Precious Metals, Inc., a publicly traded precious metals

distributor that is one of the few authorized distributors of the U.S. Mint and one of the

largest precious metals distributors worldwide. Texas-Themed Bullion products are

also sold by numerous precious metals retailers such as JM Bullion, Provident Metals,

Silver.com, and many others. Federally regulated IRA custodians such as Goldstar

Trust, Strata Trust, Horizon Trust, New Direction IRA, and others accept Texas-Themed

Bullion products as acceptable mint marks for retirement accounts.

                            Defendant’s Infringing Products

        29.   Notwithstanding TPM’s prior, continuous, and extensive use of the Texas

Silhouette Marks, Defendant recently began marketing and selling its infringing bullion,

including its “State Silver Bar” and “State Morgan Silver Dollars Rolls,” bearing images

confusingly similar to TPM’s Texas Silhouette Marks (collectively, “Defendant’s

Infringing Products”) in Texas and throughout the United States of America.

Defendant’s Infringing Products are depicted below:




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        30.   Defendant’s Infringing Products display the silhouette of the State of

Texas into Defendant’s State Silver Bar and on the State Morgan Silver Dollars Rolls.

Defendant markets these products on its website: https://lincolntreasury.com/ and

marketed as “Today’s Vault Finds.” True and correct excerpts from Defendant’s

webpage are reproduced as follows:




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        31.   Defendant ships its precious metals in the form of rounds and bars,

including Defendant’s Infringing Products, to customers in the State of Texas. A true

and correct screenshot of an email from customerservice@lincolntreasury.com showing

that Defendant sells its infringing rounds and bars is shown below:




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        32.   Confusion is inevitable by any use of TPM’s Texas Silhouette Marks along

with any precious metal rounds or bars and will put at risk TPM’s hard-earned

reputation. Therefore, Defendant’s conduct has and continues to irreparably harm

TPM’s reputation in the precious metals marketplace.

        33.   Moreover, on information and belief, Defendant is owned, operated, and

controlled by Mr. Andy Kutscher who has known of TPM, its products, and its Texas

Silhouette Marks since at least 2017. On information and belief, Mr. Kutscher owns,

operates, or controls another entity known as United States Reserve, LLC, doing

business as Federated Mint. On or about June 19, 2017, TPM filed a trademark

infringement action against United States Reserve in the United States District Court for

the Southern District of Texas, Case No. 17-cv-0037. On or about, September 28, 2017,

TPM entered into a Confidential Settlement Agreement and License with United States

Reserve. Mr. Kutscher signed that settlement agreement on behalf of United States

Reserve on or about September 28, 2017. Accordingly, on information and belief, Mr.

Kutscher has known of TPM and its marks and products since at least 2017 and

knowingly and intentionally has created another entity by which he is selling products

that infringe TPM’s trademarks contrary to the terms of the 2017 settlement agreement.

Defendant’s and Mr. Kutscher’s infringement of the Texas Silhouette Marks is ongoing.

Accordingly, Defendant’s ongoing infringement of the Texas Silhouette Marks is

willful, deliberate, and done with knowledge of TPM’s trademark rights.

        34.   This is an exceptional case under 15 U.S.C. § 1117, and TPM is entitled to

recover under that section, including its reasonable attorneys’ fees.
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                                      COUNT I
        Lanham Act Violation - Federal Trademark Infringement -15 U.S.C. § 1114

        35.   TPM incorporates the allegations of Paragraphs 1-34 of this Complaint by

reference into this Count I as though fully set forth herein.

        36.   TPM owns valid and enforceable rights in the Texas Silhouette Marks

used in connection with its products in Texas and elsewhere, as shown in the

registration certificates included with this Complaint in Exhibit A.

        37.   Notwithstanding TPM’s prior, continuous, and extensive use of the Texas

Silhouette Marks, Defendant has used, reproduced, copied, and imitated the Texas

Silhouette Marks in association with the marketing and sale of nearly identical

infringing products without TPM’s permission.

        38.   Defendant’s use of the Texas Silhouette Marks in commerce is likely to

cause confusion, mistake, and deception as to the source, affiliation, connection, and

association of Defendant’s infringing products in violation of 15 U.S.C. § 1114.

        39.   Upon information and belief, Defendant’s actions have been and are

willful, deliberate, and done with knowledge of TPM’s rights.

        40.   TPM has no adequate remedy at law. Defendant’s actions complained of

in this Complaint have caused TPM damage and injury and unjustly enriched

Defendant. Unless enjoined by the Court, Defendant will continue to do the acts

complained of herein and cause damage and injury, all to TPM’s irreparable harm and

to Defendant’s unjust enrichment.




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                                      COUNT II
         Lanham Act Violation - Federal Unfair Competition - 15 U.S.C. § 1125(a)

        41.   TPM incorporates the allegations of Paragraphs 1-34 of this Complaint by

reference into this Count II as though fully set forth herein.

        42.   Defendant’s acts described in this Complaint constitute a violation of 15

U.S.C. § 1125(a), as Defendant has used and continues to use in commerce words, terms,

symbols, devices, names, or combinations thereof, or a false designation of origin which

are likely to cause confusion, mistake, or deception as to the affiliation, connection, or

association of Defendant with TPM, or as to the origin, sponsorship, or approval of

Defendant’s goods by TPM.

        43.   Upon information and belief, Defendant’s actions have been and are

willful, deliberate, and done with knowledge of TPM’s rights.

        44.   TPM has no adequate remedy at law. Defendant’s actions complained of

in this Complaint have caused TPM damage and injury and unjustly enriched

Defendant. Unless enjoined by this Court, Defendant will continue to do the acts

complained of in this Complaint and cause damage and injury, all to TPM’s irreparable

harm and to Defendant’s unjust enrichment.

                                    COUNT III
                      Texas Common Law Trademark Infringement

        45.   TPM incorporates the allegations of Paragraphs 1-34 of this Complaint by

reference into this Count IV as though fully set forth herein.

        46.   TPM enjoys common law trademark rights under the law of the State of

Texas in its Texas Silhouette Marks used in connection with its products in the State of

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Texas and throughout the United States of America as shown in the registration

certificates included with this Complaint in Exhibit A.

         47.   Notwithstanding TPM’s prior, continuous, and extensive use of the Texas

Silhouette Marks, Defendant has used, reproduced, counterfeited, copied, and imitated

the Texas Silhouette Marks in association with the marketing and sale of nearly

identical infringing products without TPM’s permission.

         48.   Defendant’s past and current use of the Texas Silhouette Marks constitutes

trademark infringement under the common law of the State of Texas.

         49.   Defendant’s use of the Texas Silhouette Marks in commerce is likely to

cause confusion, mistake, and deception as to the source, affiliation, connection, and

association of Defendant’s infringing products in violation of Texas common law and to

the detriment of TPM.

         50.   Upon information and belief, Defendant’s actions have been and are

willful, deliberate, and done with knowledge of TPM’s rights.

         51.   TPM has no adequate remedy at law. Defendant’s actions complained of

in this Complaint have caused TPM damage and injury and unjustly enriched

Defendant. Unless enjoined by the Court, Defendant will continue to do the acts

complained of herein and cause damage and injury, all to TPM’s irreparable harm and

Defendant’s unjust enrichment.

         52.   TPM also seeks recovery of Defendant’s profits and of TPM’s attorneys’

fees.



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                                     COUNT IV
                Unfair Competition – Texas Bus. & Comm. Code § 16.29

        53.   TPM incorporates the allegations of Paragraphs 1-34 of this Complaint by

reference into this Count V as though fully set forth herein.

        54.   Defendant’s actions complained of above constitute unfair competition in

violation of the law of the State of Texas.

        55.   Defendant’s use of TPM’s Texas Silhouette Marks on its silver bullion is

calculated to deceive the relevant consuming public into accepting and purchasing

Defendant’s products and services in the mistaken belief that they are TPM’s products

and services, or that they are sponsored by, connected with, or supplied under the

supervision of TPM.

        56.   Defendant’s adoption and use of TPM’s Texas Silhouette Marks on its

goods and services constitutes unfair competition. By such use, Defendant has

represented that its goods and services are actually those supplied by TPM. This use

creates a likelihood that the public will be confused or deceived.

        57.    Defendant’s actions constitute dilution, unfair competition, palming off,

passing off, unjust enrichment, and misappropriation of TPM’s rights under Tex. Bus. &

Comm. Code § 16.29 and the common law of the State of Texas. Such actions permit,

and will continue to permit, Defendant to use and benefit from the goodwill and

reputation earned by TPM to readily obtain customer acceptance of the goods and

services offered for sale, and to give Defendant’s goods and services a salability they

would not otherwise have, all at TPM’s expense.


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        58.    As a result of Defendant’s acts, TPM has already suffered damage and will

continue to suffer damage, while Defendant profits at TPM’s expense. Defendant’s

activities entitle TPM to Defendant’s profits and to damages for such acts of unfair

competition.

        59.    Unless Defendant is enjoined, TPM has no adequate remedy at law and

will be irreparably harmed.

        60.    Defendant’s acts complained of herein have been and are grossly

negligent, deliberate, willful, intentional, in bad faith, malicious, with full knowledge

and conscious disregard of TPM’s rights and with intent to cause confusion, dilution,

and to trade off TPM’s vast goodwill in its trademarks, making this an exceptional case

and entitling TPM to enhanced damages and attorney’s fees.

                                     Prayer for Relief

        WHEREFORE, TPM respectfully requests the Court enter judgment in favor of

TPM and against Defendant on Counts I through V of this Complaint, granting the

following relief:

    a) judgment that Defendant has infringed and is infringing TPM’s Texas Silhouette

        Marks;

    b) judgment that such infringement by Defendant was and is willful;

    c) an award of damages and disgorgement of Defendant’s profits and unjust

        enrichment to TPM in an amount to be determined at trial;

    d) an order for an accounting of Defendant’s profits and unjust enrichment;

    e) an award of statutory damages to TPM;

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    f) an order that Defendant compensate TPM for the advertising or other expenses

        necessary to dispel any public confusion caused by Defendant’s infringement of

        TPM’s Texas Silhouette Marks and other unlawful acts;

    g) an order temporarily, preliminarily, and permanently enjoining and restraining

        Defendant and its officers, agents, servants, employees, successors, assigns,

        parents, subsidiaries, affiliated or related companies, attorneys, and all others in

        active concert or participation with Defendant who receive notice of this

        injunction from:

              i.   using TPM’s Texas Silhouette Marks or any confusingly similar mark, or

                   colorable imitation thereof, in connection with Defendant’s business

                   which may in any way mislead or confuse anyone as to the source,

                   affiliation, or sponsorship of such business;

          ii.      otherwise infringing or diluting the distinctive quality of the Texas

                   Silhouette Marks;

         iii.      injuring TPM’s business reputation and the goodwill associated with the

                   Texas Silhouette Marks and from otherwise unfairly competing, directly

                   or indirectly, with TPM; and

         iv.       causing a likelihood of confusion or misunderstanding as to source,

                   sponsorship, association, affiliation, approval, or certification with or by

                   TPM, or engaging in conduct tending to create a false commercial

                   impression of TPM’s goods or any other conduct which tends to pass off



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               Defendant’s goods as those of TPM or creates a likelihood of confusion or

               misunderstanding or false representation;

    h) an order directing Defendant to file with the Court, and to serve on TPM, within

        thirty (30) days after entry of the above injunction, a report in writing, under

        oath, setting forth in detail the manner and form in which it has complied with

        the injunction;

    i) an award to TPM of increased damages to fully compensate TPM and punitive

        damages for the willful and wanton nature of Defendant’s wrongful acts and

        because this is an “exceptional” case;

    j) an award to TPM of its costs and expenses, including all reasonable attorneys’

        fees recoverable under the Lanham Act, Texas common law, or any other

        applicable law or rule; and

    k) an award to TPM of pre-judgment and post-judgment interest; and such other

        and further relief as the Court deems just and equitable.

                                        Jury Demand

        TPM demands a trial by jury on all matters and issues properly tried to a jury

pursuant to Federal Rules of Civil Procedure 38 and 39 and other applicable state and

federal law.




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 Dated: October 31, 2024             Respectfully submitted,


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